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TRILLiuM PARTNERS, LP * IN THE

Plaimirf * UNITED sTATEs DIsTRJcT coURT
v. * FOR

ADvANonN soLuTloNs, rNc. * THE DISTRICT OF MARYLAND
Defendant * NORTHERN DIVISION

* CIVlL ACTION NO. l:lS-cv-OZI$O-DKC

* * * * * il il * * * * * *

ORDER GRANTING APPROVAL OF SETTLEMENT AGREEMENT AND STIPULATION

This matter having come on for a hearing on the \3 day of W , 2018,

to approve the Settlement Agreement entered into as of .luly lO, 2018, between Plaintif`f`, Trillium
Partners, LP (“Plaintif`f”) and Defendant, Advanzeon Solutions, lnc. (“Defendant" and collectively
with Plaintif`f, the “Parties”), and the Court having held a hearing as to the fairness of the terms
and conditions of the Settlement Agreement and Stipulation and being otherwise fully advised in
the premises, the Court hereby finds as follows:

'l`he Court has been advised that the Parties intend that the sale of the Shares (as defined
by the Settlement Agrecment and, hereinaRer, the “Shares”) to and the resale of the Shares by
Plaintif`i` in the United States, assuming satisfaction of all other applicable securities laws and
regulations, will be exempt from registration under the Securities Act of l933 (the “Securities
Act”) in reliance upon Section 3(a)(l 0) of the Securities Act based upon this Court’s finding herein
that the terms and conditions of the issuance of the Shares by Defendant to Plaintif‘l` are fair to

Plaintiff`;

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The hearing having been scheduled upon the consent of` Plaintii`f and Defendant, P|aintiff
has had adequate notice of the hearing and Plaintiff is the only party to whom Shares will be issued
pursuant to the Sett|ement Agreement;

The terms and conditions of the issuance of the Shares in exchange for the release of certain
claims as set forth in the Settlement Agreement are fair to Plaintiti`, the only party to whom the
Shares will be issued;

The fairness hearing was open to Plaintifi`. Plaintiff was represented by counsel at the
hearing who acknowledged that adequate notice of the hearing was given and consented to the
entry of this Order.

lt is hereby ORDERED AND ADJUDGED that the Settlement Agreement and Stipulation
is hereby approved as fair to the party to whom the Shares will be issued, within the meaning of
Section 3(a)(10) of` the Securities Act and that the sale of the Shares to Plaintif`f` and the resale of
the Shares in the United States by Plaintil`i`, assuming satisfaction of all other applicable securities
laws and regulations, will be exempt from registration under the Securities Act of 1933. The
Settlement Agreement and Stipulation entered into between the parties is hereby approved and the
parties are ordered to comply with same. The United States District Court for the District of
Maryland, Northem Division reserves jurisdiction over the parties to this action as well as the
subject matter herein for purposes of contempt and enforcement of the Settlement Agreement and

Stipulation as well as for such other purposes as allowed by law.

so 0RDERED,1his\§`an of W ,2018.
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conformed copies to:

